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UNITED STATES DISTRICT COURT F
FOR THE DISTRICT OF VERMONT WT DEC 21 PM 344

  
 

 

 

UNITED STATES OF AMERICA )
) BY GETTY CUERR
v. ) Criminal No. 2:17-cr-104
)
THOMAS PLETZER, )
ALEXIS OCEGUEDA, )
Defendants. )
SUPERSEDING INDICTMENT
Count One

The Grand Jury charges that: —

Between in or about August of 2017 to on or about November 10, 2017, in the District of
Vermont and elsewhere, the defendants THOMAS PLETZER, ALEXIS OCEGUEDA, and
others, known and unknown to the Grand Jury, knowingly and willfully conspired to distribute
methamphetamine, a Schedule IT controlled substance.

With respect to defendants OCEGUEDA and PLETZER, their conduct and the
reasonably foreseeable conduct of other members of the conspiracy, involved 50 grams or more

of a mixture and substance containing a detectable amount of methamphetamine.

(21 U.S.C. §§ 841(a), 841(b)(1)(B), & $46)
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Count Two

The Grand Jury further charges that:

On or about November 8, 2017, in the District of Vermont and elsewhere, the defendant
ALEXIS OCEGUEDA knowingly and intentionally attempted to distribute, and distributed,
50 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

(21 U.S.C. §§ 841(a), 841(b)(1)(B), & 846)
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Count Three

The Grand Jury further charges that:

On or about November 10, 2017, in the District of Vermont, the defendant THOMAS
PLETZER knowingly and intentionally possessed with the intent to distribute 50 grams or more
of a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance.

(21 U.S.C. §§ 841(a), 841(b)(1)(B))
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Count Four
The Grand Jury further charges that:
On or about November 18, 2017, in the District of Vermont and elsewhere, the defendant
ALEXIS OCEGUEDA knowingly and intentionally attempted to distribute, and distributed,
50 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance.

(21 U.S.C. §§ 841(a), 841(b)(1)(B), & 846)

A TRUE BILL

 

FOREPERSON

 

United States Attorney
Burlington, Vermont
December 21, 2017
